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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    JENNIFER COUSINS, MATTHEW
    COUSINS, P.C., M.C., S.C., N.C.,
    WILL LARKINS, DAVID DINAN,
    VIKRANTH REDDY GONGIDI,
    K.R.D., R.R.D. and CENTERLINK,
    INC.,

                       Plaintiffs,

    v.                                             Case No: 6:22-cv-1312-WWB-LHP

    THE SCHOOL BOARD OF ORANGE
    COUNTY, FLORIDA, THE SCHOOL
    BOARD OF INDIAN RIVER
    COUNTY, FLORIDA, THE SCHOOL
    BOARD OF DUVAL COUNTY,
    FLORIDA, THE SCHOOL BOARD OF
    PALM BEACH COUNTY, FLORIDA
    and ATTORNEY GENERAL OF
    FLORIDA,

                       Defendants




                                           ORDER

          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: ATTORNEY GENERAL MOODY’S UNOPPOSED
                  MOTION TO INTERVENE (Doc. No. 51)

          FILED:       September 2, 2022
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          THEREON it is ORDERED that the motion is GRANTED.

          On July 25, 2022, Plaintiffs, a group of parents, students, and a non-profit

    organization (“Plaintiffs”), filed a complaint against various school boards located

    within the Middle District of Florida challenging the constitutionality of Florida

    Statute § 1001.42(8)(c) (“HB 1557”). Doc. No. 1. On August 26, 2022, Plaintiffs

    moved for preliminary injunctive relief, which remains pending before the

    Presiding District Judge. Doc. No. 45; see also Doc. Nos. 49-50, 52, 54-55, 59.

          On September 2, 2022, the Attorney General for the State of Florida, Ashley

    Moody, filed the above-styled motion seeking to intervene in this case in her official

    capacity for the purpose of defending the constitutionality of HB 1557. Doc. No.

    51. Attorney General Moody moves for intervention as a matter of right pursuant

    to Federal Rule of Civil Procedure 24(a) and 28 U.S.C. § 2403(b), and in the

    alternative, for permissive intervention under Rule 24(b).         Id.   The motion is

    unopposed. Id., at 9.

          Section 2403(b) provides, in part, that intervention is appropriate “[i]n any

    action . . . to which a State or any agency, officer, or employee thereof is not a party,

    wherein the constitutionality of any statute of that State affecting the public interest

    is drawn into question[.]” 28 U.S.C. § 2403(b). The Attorney General argues that

    the four school boards named as Defendants are considered local governmental

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    entities, and therefore there are no state actors involved in this case. Doc. No. 51,

    at 3. The Court is not so sure. See Edelman v. Jordan, 415 U.S. 651, 667 n.12 (1974)

    (“[A] county does not occupy the same position as a State for purposes of the

    Eleventh Amendment . . . . [W]hile county action is generally state action for

    purposes of the Fourteenth Amendment, a county defendant is not necessarily a

    state defendant for purposes of the Eleventh Amendment.”). Here, Plaintiffs are

    seeking relief pursuant to 42 U.S.C. § 1983, they allege that the school boards are

    “persons acting under color of state law,” and they allege violations of their First

    and Fourteenth Amendment rights. See Doc. No. 1. And other than attorneys’

    fees and costs, Plaintiffs are not seeking any retrospective or prospective monetary

    relief. See, e.g., Campbell v. Gadsden Cnty. Dist. Sch. Bd., 534 F.2d 650, 655–56 (5th

    Cir. 1976) (finding school boards are not entitled to Eleventh Amendment immunity

    for purposes of claims seeking retrospective monetary relief where the school board

    is locally funded and locally controlled). Thus, the Court is not convinced that 28

    U.S.C. § 2403(b) authorizes intervention.

          Attorney General Moody also seeks intervention as of right pursuant to

    Federal Rule of Civil Procedure 24(a)(2). A court must allow a party to intervene

    when the proposed intervenor “claims an interest relating to the property or

    transaction that is the subject of the action, and is so situated that disposing of the

    action may as a practical matter impair or impede the movant's ability to protect its

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    interest, unless existing parties adequately represent that interest.” Fed. R. Civ. P.

    24(a)(2). The Eleventh Circuit has translated the rule into a four-factor

    requirement—(1) the application must be timely, (2) the proposed intervenors must

    have an “interest relating to the property or transaction which is the subject of the

    action,” (3) the proposed intervenors must be “so situated that the disposition of the

    action, as a practical matter, may impede [their] ability to protect that interest”; and

    (4) their interest must be “represented inadequately by the existing parties to the

    suit.” Stone v. First Union Corp., 371 F.3d 1305, 1308–09 (11th Cir. 2004) (citations

    omitted). See also Purcell v. BankAtlantic Fin. Corp., 85 F.3d 1508, 1512 (11th Cir.

    1996) (citations omitted).

          Upon review, the Court finds that Attorney General Moody has satisfied the

    requirements of Rule 24(a)(2). The application is timely, it was filed less than six

    (6) weeks after the complaint was filed, and prior to the deadline for any Defendant

    to respond to the complaint.       There is no prejudice to any existing party by

    allowing intervention – the deadline to respond to the complaint is September 30,

    2022, Attorney General Moody has already filed a proposed response to the

    pending motion for preliminary injunction (and no hearing has yet been set), and

    no party opposes intervention. See Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th

    Cir. 1989). The Court further finds that Attorney General Moody has a “direct,

    substantial, legally protectible interest in the proceedings,” namely determining the

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    constitutionality of HB 1557 and enforcing Florida’s laws. See Doc. No. 51, at 4-5.

    In addition, Attorney General Moody’s ability to protect this interest may be

    impeded if intervention is not permitted. Last, while there is a question as to

    whether the school boards can adequately represent this interest, given the lack of

    opposition, it is undisputed that Attorney General Moody is in the best position to

    defend and enforce the State of Florida’s laws.

          Moreover, even if Attorney General Moody failed to establish intervention as

    a matter of right, the Court “may permit anyone to intervene who: . . . has a claim

    or defense that shares with the main action a common question of law or fact.”

    Fed. R. Civ. P. 24(b)(1)(B). District courts have broad discretion to grant or deny

    permissive intervention. Chiles, 865 F.2d at 1213 (citing Sellers v. United States, 709

    F.2d 1469, 1471 (11th Cir. 1983)). The Court finds that permissive intervention

    would also be appropriate here, particularly given that intervention would not

    unduly delay or prejudice the adjudication of the original parties’ rights. See Fed.

    R. Civ. P. 24(b)(3).   As noted above, this case is in its infancy, the motion for

    preliminary injunctive relief remains pending, and the deadline to respond to the

    complaint has not yet passed. Adding Attorney General Moody at this early stage

    of the case is unlikely to cause additional or significant delay.         The lack of

    opposition supports this finding.



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          Accordingly, Attorney General Moody’s Unopposed Motion to Intervene

    (Doc. No. 51) is GRANTED.         The response to the motion for preliminary

    injunction (Doc. No. 52) shall be deemed timely filed and will be considered as

    appropriate.   The Clerk is DIRECTED to add Attorney General Moody as an

    Intervenor-Defendant in this case. Attorney General Moody shall file a response

    to the complaint (Doc. No. 1) on or before September 30, 2022.

          DONE and ORDERED in Orlando, Florida on September 12, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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